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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MICHAEL uNDERwooD,
Piaintiff, Z/I?// $’

_V_ NO, 13-@v-6664 (Ris)

TAFSC HousING DEvELoPMENT _ORDER

FUND CORPORATION, et af.,

Defendants.

 

 

RlCHARD J. SULLIVAN, District Judge:

Plaintiff instituted this action on July 25, 2018 against five defendants: (1) TAFSC
l-lousing Development Fund Corporation (“TAFSC"), (2) The Third Avenue Family Service
Center, Inc. (“Third Avenue"'), (3) Linda Washington (the executive director ot` TAFSC), (4) the
City of New Yorl<, and (5) the New York State Homeless Housing and Assistance Corporation
(“NYSHl-IAC”). (Doc. No. l.) According to certificates of service filed on the docket, Plaintiff
has served the summons and a copy of the complaint on three defendants - TAFSC, Third Avenue,
and NYSHHAC. (Doc. No. 5.)

The Court is now in receipt of a letter from NYSHHAC requesting that the Court extend
its deadline to answer or otherwise respond to the complaint to Septelnber 6, 2018. (Doc. No. 6.)
Plaintiff consents to the proposed extension (ld.) According1y, IT IS HEREBY ORDERED that
the deadline for NYSHI~IAC to answer or otherwise respond to the complaint is extended to
September 6, 2018. Neither of the other served Defendants - TAFSC and Third Avenue ~ has
requested an extension of their deadline to answer. However, in the interests of maintaining a

unifonn schedule in this action, lT lS FURTHER ORDERED that deadline for Defendants TAFSC

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and Third Avenue to answer or otherwise respond to the complaint is extended to September 6,
2018.

Plaintiff has not filed certificates of service regarding Washington or the City of New York.
If Plaintiff has effected service of those Defendants, IT lS FURTHER ORDERED that Plaintiff
shall promptly file certiticates of service on the Court°s electronic docket.

The Clerk of Court is respectfully directed to terminate the motion pending at docket

number 6.
SO ORDERED.
Dated: August 17, 2018

New York, New York V€\(;Z&`r,._

RICHARD J. SULLIVAN
UNITED STATES DlSTRICT JUDGE

 

